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                           Exhibit 5
Case 8:19-cv-01837-RGK-ADS Document 44-5 Filed 02/10/20 Page 2 of 2 Page ID #:1573
                                                              Sunday, February 9, 2020 at 14:37:55 Paciﬁc Standard Time

 Subject: Re: Digital Soula Systems Due Diligence (Qatar)
 Date: Thursday, July 25, 2013 at 9:58:25 AM Paciﬁc Daylight Time
 From: TF
 To:      Amir

Dear Mr. Mohammadi,

Thank you for your email and introduction. Al Sedriah is owned by HE ShSheik Joaan Hamad Al-Thani. The
company address is Al Sedriah, PO Box 18129.

Regards,

Tarek


From: Amir                          @raytheon.com>

To: Tarek Fouad <Mouad@
                           --
Date: Tuesday, July 23, 2013 3:22 PM

Subject: Digital Soula Systems Due Diligence (Qatar)
Dear Mr. Fouad,

My name s Am r Mohammad and I am Sen or Manager at Raytheon Internat ona Inc. ocated outs de Wash ngton DC. I rea ze that you
k nd y comp eted some quest onna re forms n your capac ty as the CEO of Sou a Systems and D g ta Sou a Systems, cop es of wh ch
were prov ded to our office. One of the respons b t es of our team, Internat ona Agreements, s to comp ete requ red due d gence on
th rd part es w th whom Raytheon wou d be engaged. In rev ew ng the comp eted Form E3-S for Sou a Systems t was nd cated that the
parent compan es to Sou a Systems are Sa am Internat ona (20%) and A Sedr ah (80%). We were ab e to find some nformat on on
Sa am Internat ona through open med a sources nc ud ng Sa am s extens ve webs te. owever, t appears that there s tt e nformat on
on A Sedr ah wh ch w th 80% ownersh p appears s a contro ng party to Sou a Systems. We wou d apprec ate f you wou d k nd y
prov de A Sedr ah s address as we as name and percentage of ownersh p of each owners n order for us to proper y document these
facts and comp ete our due d gence process.

Look ng forward to hear from you and w th warm regards,
Cord a y,

Am r




-      Mohammadi
Senior Manager nternational Agreements
Raytheon nternational nc
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